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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA
                                          Honorable Claire C. Cecchi
         v.

MATTHEW BRENT GOETTSCHE                   Crim. No. 19-877
RUSS ALBERT MEDLIN
JOBADIAH SINCLAIR WEEKS
JOSEPH FRANK ABEL
SILVIU CATALIN BALACI

                       MOTION TO WITHDRAW AS COUNSEL

      The undersigned Assistant United States Attorney respectfully moves to

withdraw as counsel in the above-captioned case. Effective Friday, June 2,

2023, the undersigned will be leaving the U.S. Attorney’s Office to return to

private practice and will no longer be representing the United States in this

judicial district. Assistant United States Attorney Anthony Torntore, who is an

attorney to be noticed in this case, will remain in the case and serve as lead

counsel of record for the United States moving forward.

      Accordingly, the undersigned respectfully requests that the Clerk of the

Court remove the undersigned as a counsel of record on behalf of the United

States and designate Assistant United States Attorney Anthony Torntore as lead

counsel of record.

                                            Respectfully submitted,

                                            PHILIP R. SELLINGER
                                            United States Attorney

                                            s/ Jamie H. Solano
                                            By: Jamie Hoxie Solano
                                            Assistant U.S. Attorney
Dated:        May 31, 2023
